                   Case 2:22-cv-12056-DPH-JJCG ECF No. 5, PageID.30 Filed 09/14/22 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            2:22-CV-12056

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for HH Pizza Management, Inc.
 was recieved by me on 9/08/2022:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Will Deacon, who is designated by law to accept service of process on behalf of HH Pizza
          X
                                    Management, Inc.09/09/2022; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 135.00 for services, for a total of $ 135.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   09/13/2022
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                  Ashley Cain
                                                                                                                                                 Printed name and title



                                                                                                            1226 Osprey Nest Cir
                                                                                                            Groveland, FL 34736


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Will Deacon who indicated they were the person in charge with identity confirmed by
           subject stating their name. The individual accepted service with direct delivery. The individual appeared to be a
           brown-haired white male contact 35-45 years of age, 6'2"-6'6" tall and weighing 240-300 lbs with a goatee.




                                                                                                                                                               Tracking #: 0093241452
